

Castle Vil. Owners Corp. v Girardi (2025 NY Slip Op 02152)





Castle Vil. Owners Corp. v Girardi


2025 NY Slip Op 02152


Decided on April 15, 2025


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: April 15, 2025

Before: Kern, J.P., Gesmer, Mendez, O'Neill Levy, Michael, JJ. 


Index No. 654284/23|Appeal No. 4123|Case No. 2024-03609|

[*1]Castle Village Owners Corp., Respondent,
vGuillermina Girardi, Appellant.


Guillermina Girardi, appellant pro se.
Seyfarth Shaw LLP, New York (Kristin Pendergrass of counsel), for respondent.



Appeal from order, Supreme Court, New York County (Lyle E. Frank, J.), entered May 23, 2024, which refused to sign defendant's proposed order to show cause, unanimously dismissed, without costs, as taken from a nonappealable paper.
Defendant purports to appeal from Supreme Court's refusal to sign her order to show cause, which sought to vacate a prior order granting plaintiff's motion for preliminary injunctive relief. However, no appeal lies from an order refusing to sign an order to show cause, as it is an ex parte order that does not decide a motion made on notice (CPLR 5701[a][2]; see Schwartz v Noll, 191 AD3d 567, 567 [1st Dept 2021], lv dismissed 39 NY3d 948 [2022]).
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: April 15, 2025








